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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    FEDERAL TRADE COMMISSION, et al.,

                         Plaintiffs,
                                                               CIVIL ACTION
             v.                                                NO. 20-1113


    THOMAS JEFFERSON UNIVERSITY, et
    al.,

                         Defendants.


                                           ORDER

        AND NOW, this 5th day of June, 2020, upon consideration of Plaintiff

Commonwealth of Pennsylvania’s Application for Admission Pro Hac Vice (ECF No. 72),

it is hereby ORDERED that the Application is DENIED.1



                                                   BY THE COURT:


                                                    /s/ Gerald J. Pappert
                                                   _____________________________
                                                   GERALD J. PAPPERT, J.




1       Plaintiff is directed to refer to the Court’s updated Policies and Procedures, Part I.D
(“Pro Hac Vice Motions”), available at
https://www.paed.uscourts.gov/documents/procedures/pappol.pdf.
